Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 1 of 10

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
V.

JONATHANPETER ALLEN KLEIN,
(Counts 1, 2, 3, 4, 5, 6)

and

MATTHEW LELAND KLEIN,
(Counts 1, 2, 3, 4, 5, 6)

Defendants.

CRIMINAL NO. 21-CR-237

VIOLATIONS:
18 U.S.C. § 371
(Conspiracy)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding and
Aiding and Abetting)

18 U.S.C. §§ 231(a)(3), 2
(Obstruction of Law Enforcement During
Civil Disorder and Aiding and Abetting)

18 U.S.C. §§ 1361, 2
(Destruction of Government Property and
Aiding and Abetting)

18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)
(Disorderly Conduct in a Restricted
Building or Grounds)

INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and at or about the times stated below:
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 2 of 10

Introduction

The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

1. The 2020 United States Presidential Election occurred on November 3, 2020.

nm The United States Electoral College (“Electoral College”) is a group required by
the Constitution to form every four years for the sole purpose of electing the president and vice
president, with each state appointing its own electors in a number equal to the size of that state’s
Congressional delegation.

3. On December 14, 2020, the presidential electors of the Electoral College met in the
state capital of each state and in the District of Columbia and formalized the result of the 2020
US. Presidential Election: Joseph R. Biden, Jr. and Kamala D. Harris were declared to have won
sufficient votes to be elected the next president and vice president of the United States.

4, On January 6, 2021, a Joint Session of the United States House of Representatives
and the United States Senate (“the Joint Session”) convened in the United States Capitol (“the
Capitol”) to certify the vote of the Electoral College of the 2020 U.S. Presidential Election (“the
Electoral College vote’).

The Proud Boys

5. The Proud Boys describes itself as a “pro-Western fraternal organization for men
who refuse to apologize for creating the modern world; aka Western Chauvinists.” Proud Boys
members routinely attend rallies, protests, and other events, some of which have resulted in
violence involving members of the group. There is an initiation process for new members of the
Proud Boys, and members often wear black and yellow polo shirts or other apparel adorned with

Proud Boys logos to public events.
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 3 of 10

Conspirators

6. JONATHANPETER ALLEN KLEIN (“J. KLEIN”), is a 21-year-old resident of
Oregon. J. KLEIN is a self-identified member of the Proud Boys. J. KLEIN is the brother of
MATTHEW LELAND KLEIN.

te MATTHEW LELAND KLEIN (“M. KLEIN”), is a 24-year-old resident of Oregon.
M. KLEIN is the brother of J. KLEIN.

The Attack at the U.S. Capitol on January 6, 2021

8. On December 19, 2020, plans were announced for a Stop the Steal protest event in
Washington, D.C. on January 6, 2021, which protest would coincide with Congress’s certification
of the Electoral College vote.

9, On December 27, 2020, J. KLEIN notified his employer that he wanted to take time
off from work between January 4 and 8, 2021, so that he and his brother could attend the “stop the
steal rally in DC.”

10. On December 29, 2020, J. KLEIN and M. KLEIN obtained airline tickets to travel
from Portland, Oregon, to Philadelphia, Pennsylvania, on January 4, 2021. The tickets were paid
for in cash.

11. Onor before January 5, 2021, J. KLEIN and M. KLEIN traveled from Philadelphia
to Washington, D.C.

12. On January 6, 2021, only authorized individuals with appropriate identification
were allowed on the Capitol grounds or inside the Capitol building. The Capitol is secured 24
hours a day by United States Capitol Police (“Capitol Police”) and permanent and temporary
barriers that restrict access to the Capitol grounds and building.

13. On January 6, 2021, at 12:45 p.m., a large crowd began to gather outside the Capitol

perimeter.
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 4 of 10

14. Pedestrian entrances to the Capitol grounds were guarded by Capitol Police.
Prominent signs posted on metal barriers at pedestrian entrances and other locations stated,
“AREA CLOSED By order of the United States Capitol Police Board.”

15. At 12:53 p.m., a group of people forcibly breached the barriers on the west side of
the Capitol and members of the crowd charged past the trampled barriers and onto Capitol grounds.

16. At 1:00 p.m., the Joint Session convened in the Capitol to certify the Electoral
College vote. Vice President Michael R. Pence, in his constitutional duty as President of the
Senate, presided over the Joint Session, and Vice President-elect Harris was also present.

17. Outside the Capitol, law enforcement struggled to maintain control of the growing
crowd that had advanced onto the Capitol grounds.

18. | Crowd members, including J. KLEIN and M. KLEIN, eventually forced their way
through, up, and over additional Capitol Police barricades and advanced to the building’s exterior
fagade. Capitol Police officers attempted to maintain order and stop the crowd from entering the
Capitol building. Prior to 2:13 p.m., the doors and windows of the Capitol building were locked
or otherwise secured.

19. By 2:13 p.m., crowd members had begun to force entry into the Capitol building
by breaking windows and forcing open doors. The crowd was not lawfully authorized to enter or
remain inside the Capitol building, and no crowd member submitted to security screenings or
weapons checks by Capitol Police or other security officials. Other crowd members encouraged
and otherwise assisted the forced entry, affording J. KLEIN and M. KLEIN the ability to enter the
Capitol building.

20. Shortly after the Capitol had been breached, at 2:20 p.m., members of the House

and Senate (including Vice President Pence)—who had withdrawn to separate chambers to resolve
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 5 of 10

an objection—were evacuated from their respective chambers. The Joint Session was halted while
Capitol Police and other law-enforcement officers worked to restore order and clear the Capitol
building and grounds of the unlawful occupants.

21. Later that night, law enforcement regained control of the Capitol building and
grounds. At approximately 8:00 p.m., the Joint Session reconvened, presided over by Vice
President Pence, who had remained within the Capitol building in a secure location throughout
these events.

22. Inthe course of these events, approximately 81 members of the Capitol Police and
58 members of the Metropolitan Police Department were assaulted. The Capitol suffered millions
of dollars in damage— including broken windows and doors, graffiti, and residue from pepper
spray, tear gas, and fire extinguishers deployed both by crowd members who stormed the Capitol
and by Capitol Police officers trying to restore order. Additionally, many media members were
assaulted and had cameras and other news-gathering equipment destroyed.

COUNT ONE
(Conspiracy—18 U.S.C. § 371)

23. The introductory allegations set forth in paragraphs 1 through 22 are re-alleged and
incorporated by reference as though set forth herein.
The Conspiracy
24. From as early as January 6, 2021, in the District of Columbia and elsewhere, the
defendants,

JONATHANPETER ALLEN KLEIN and
MATTHEW LELAND KLEIN,

did knowingly combine, conspire, confederate, and agree with each other and others known and

unknown, to commit offenses against the United States, namely, (1) to corruptly obstruct,
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 6 of 10

influence, and impede an official proceeding, that is, Congress’s certification of the Electoral
College vote, and to attempt to do so, in violation of Title 18, United States Code, Section
1512(c)(2) and (2) to obstruct, impede, and interfere with law enforcement officers engaged in the
lawful performance of official duties incident to and during the commission of a civil disorder, in
violation of Title 18, United States Code, Section 231(a)(3).
Purpose of the Conspiracy
25. The purpose of the conspiracy was (1) to corruptly stop, delay, or hinder Congress’ s
certification of the Electoral College vote, and (2) to obstruct and interfere with law enforcement
officers engaged in their official duties to protect the Capitol and its occupants from those who
had unlawfully advanced onto Capitol grounds.
Manner and Means
26. J. KLEIN and M. KLEIN, with others known and unknown, carried out the
conspiracy through the following manner and means, among others, by:
a. Traveling to Washington, D.C. prior to the January 6 attack;
b. Storming past barricades, Capitol Police, and other law enforcement officers;
c. Gaining access to and assisting others with gaining access to restricted areas of the
Capitol’s grounds;
d. Entering the Capitol building;
e. Forcing open secure exterior doors of the Capitol, which were guarded by law
enforcement officers; and
f. Interfering with efforts by law enforcement to stop the crowd from gaining access
to the Capitol.

Overt Acts
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 7 of 10

27. On January 6, 2021, J. KLEIN and M. KLEIN entered the restricted areas of the
Capitol grounds.

28. At 2:11 p.m., M. KLEIN assisted members of the crowd, who had breached the
Capitol’s restricted grounds, with using a police barricade to climb a wall and gain access to an
external stairwell leading to the Upper West Terrace of the Capitol.

29. At 2:16 p.m., J. KLEIN entered the Capitol building through a door on the
northwest side of the Capitol. J. KLEIN engaged in a celebratory exchange with an identified
member of the Proud Boys (“PERSON 1”).

30. At 2:18 p.m., M. KLEIN entered the Capitol building through the same door on the
northwest side of the Capitol.

31. J, KLEIN and M. KLEIN exited the Capitol. After exiting the Capitol, J. KLEIN
and M. KLEIN worked in coordination to forcibly open a secured door on the Capitol’s north side.
Federal law enforcement officers were visible on the other side of the door while J. KLEIN and
M. KLEIN took this action.

32. When federal law enforcement officers responded to the violent entry, M. KLEIN
put on protective goggles.

33. | M. KLEIN then advanced toward the law enforcement officers and used a Gadsden
flag affixed to a flagpole to interfere with efforts by law enforcement to disperse the crowd.

(In violation of Title 18, United States Code, Section 371)

COUNT TWO
(18 U.S.C, §§ 1512(c)(2), 2—Obstruction of an Official Proceeding and
Aiding and Abetting)
34, Paragraphs | through 22 and paragraphs 27 through 33 of this Indictment are re-

alleged and incorporated as though set forth herein.
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 8 of 10

35, On January 6, 2021, in the District of Columbia and elsewhere, the defendants,

JONATHANPETER ALLEN KLEIN and
MATTHEW LELAND KLEIN,

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, a
proceeding before Congress, specifically, Congress’s certification of the Electoral College vote as
set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

(In violation of Title 18, United States Code, Sections 1512(c)(2), 2)

COUNT THREE
(18 U.S.C. § 231(a)(3), 2— Obstruction of Law Enforcement During Civil Disorder and
Aiding and Abetting)
36. Paragraphs | through 22 and paragraphs 27 through 33 of this Indictment are re-
alleged and incorporated as though set forth herein

37. On January 6, 2021, in the District of Columbia and elsewhere, the defendants,

JONATHANPETER ALLEN KLEIN and
MATTHEW LELAND KLEIN,

committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is officers from the United States Capitol Police, lawfully engaged in the lawful
performance of their official duties, incident to and during the commission of a civil disorder which
in any way and degree obstructed, delayed, and adversely affected commerce and the movement
of any article and commodity in commerce and the conduct and performance of any federally
protected function.

(In violation of Title 18, United States Code, Sections 231(a)(3), 2)

COUNT FOUR
(18 U.S.C. §§ 1361, 2—Destruction of Government Property and Aiding and Abetting)

38. Paragraphs | through 22 and paragraphs 27 through 33 of this Indictment are re-
alleged and incorporated as though set forth herein.

8
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 9 of 10

39, On January 6, 2021, in the District of Columbia and elsewhere, the defendants,

JONATHANPETER ALLEN KLEIN and
MATTHEW LELAND KLEIN,

attempted to, and did, willfully injure and commit depredation against property of the United
States, and did aid and abet others known and unknown to do so; that is, J. KLEIN and M. KLEIN
together and with others known and unknown, aided and abetted others known and unknown to
forcibly enter the Capitol and thereby caused damage to the building in an amount more than
$1,000.
(In violation of Title 18, United States Code, Sections 1361, 2)
COUNT FIVE
(18 U.S.C, § 1752(a)(1)—Entering and Remaining in a Restricted Building or Grounds)

40. Paragraphs | through 22 and paragraphs 27 through 33 of this Indictment are re-
alleged and incorporated as though set forth herein.

Al. On January 6, 2021, within the District of Columbia and elsewhere, the defendants,

JONATHANPETER ALLEN KLEIN and
MATTHEW LELAND KLEIN,

did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was temporarily visiting, without lawful authority to do so.

(In violation of Title 18, United States Code, Section 1752(a)(1))

COUNT SIX
(18 U.S.C. § 1752(a)(2)—Disorderly Conduct in a Restricted Building or Grounds)

42. Paragraphs | through 22 and paragraphs 27 through 33 of this Indictment are re-
alleged and incorporated as though set forth herein.

43, On January 6, 2021, within the District of Columbia and elsewhere, the defendants,
Case 1:21-cr-00237-RDM Document 120 Filed 12/01/21 Page 10 of 10

JONATHANPETER ALLEN KLEIN and
MATTHEW LELAND KLEIN,

did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(In violation of Title 18, United States Code, Section 1752(a)(2))

A TRUE BILL

FOREPERSON

| Qe
Attorney of the United States in
and for the District of Columbia

10
